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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE

GILLESPIE & POWERS, INC.,

                           Plaintiff,
                                                   C.A. No. 23-cv-00273-GBW
               v.

ALCOA WARRICK LLC, WARRICK
REAL ESTATE LLC and KAISER
ALUMINUM WARRICK, LLC,

                           Defendants.



                        STIPULATION AND [PROPOSED] ORDER
                    EXTENDING TIME FOR RESPONSE TO COMPLAINT

       IT IS HEREBY STIPULATED AND AGREED, by the parties hereto, through their

undersigned counsel, subject to the approval of the Court, that Defendant Warrick Real Estate LLC

(“Defendant”) shall move, answer, or otherwise respond to Plaintiff Gillespie & Powers, Inc.’s

(“Plaintiff”) Complaint no later than fourteen (14) days after the date on which the Court issues its

ruling on Plaintiff’s Motion for Reconsideration (the “Motion”). This stipulation may be modified

or amended by agreement among the parties hereto, subject to further Court approval.

       Currently, the deadline for Defendant to respond to both Plaintiff’s Complaint and the

Motion is April 26, 2023. The reason for this requested extension is to allow counsel for Plaintiff

and Defendant additional time following the Court’s ruling to consult with their clients and

consider an appropriate response. No party will be prejudiced by this brief extension.
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 DLA PIPER LLP (US)                            K&L GATES LLP

  /s/ Michelle L. Morgan                        /s/ Matthew B. Goeller
 Michelle L. Morgan (DE Bar No. 3651)          Steven L. Caponi (DE Bar No. 3484)
 Daniel P. Klusman (DE Bar No. 6839)           Matthew B. Goeller (DE Bar No. 6283)
 1201 North Market Street, Suite 2100          600 N. King Street, Suite 901
 Wilmington, Delaware 19801                    Wilmington, Delaware 19801
 (302) 468-5700                                (302) 416-7080
 (302) 394-2341 (Fax|)                         steven.caponi@klgates.com
 michelle.morgan@us.dlapiper.com               matthew.goeller@klgates.com
 daniel.klusman@us.dlapiper.com
                                               Counsel for Defendant
 Counsel for Plaintiff                         Warrick Real Estate LLC
 Gillespie & Powers, Inc.

 Dated: April 25, 2023




SO ORDERED, this ____ day of April 2023.




                                        ________________________________________
                                        The Honorable Gregory B. Williams
                                        United States District Court Judge
